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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

NEW YORK STATE TEAMSTERS                                       ATTORNEY AFFIDAVIT IN
COUNCIL HEALTH & HOSPITAL FUND, by                             SUPPORT OF REQUEST FOR
its Trustees, et. al.                                          CLERK’S CERTIFICATE OF
                                                               ENTRY OF DEFAULT
                              Plaintiffs,
               vs.                                             5:09-CV-1184 (DNH)(DEP)

SPA STEEL PRODUCTS CO., INC.

                              Defendant.

STATE OF NEW YORK             )
                              )SS.:
COUNTY OF ONEIDA              )

       Vincent M. DeBella, being duly sworn, deposes and says that:

       1.      I am the attorney for the plaintiffs, New York State Teamsters Council Health and

Hospital Fund by its Board of Trustees.

       2.      On October 23, 2009, the plaintiffs filed an action against the defendant for

delinquent employee benefit contributions, liquidated damages, interest, costs and attorneys’ fees

due under the Employee Retirement Income Security Act of 1974, as amended.

       3.      The defendant is a New York corporation.

       4.      On November 3, 2009, the plaintiffs personally served the summons and complaint

on Bob Edwards, the defendant’s President and one of its officers. A Proof of Service was filed with

this Court on November 23, 2009.

       5.      The defendant has failed to interpose an answer or otherwise appear in this action.

       6.      The defendant is not an infant or incompetent person.

       7.      The defendant is not in the military service.

       8.      The defendant was properly served under Rule 4 of the Federal Rules of Civil
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Procedure.

      9.     The defendant has defaulted in appearance in the above-captioned action.


                                          PARAVATI, KARL, GREEN & DEBELLA

                                       By:/s/ Vincent M. DeBella, Esq.
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